                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. 17-CR-1004-LRR
 vs.                                          REPORT AND RECOMMENDATION
                                               CONCERNING PLEA OF GUILTY
 STEPHANIE ANN MARCOV, a/k/a
 Stephanie Ann Thoma,
               Defendant.
                                ____________________

       On May 19, 2017, the above-named Defendant, Stephanie Ann Marcov, a/k/a
Stephanie Ann Thoma, by consent (Doc. 29), appeared before the undersigned United
States Magistrate Judge pursuant to Federal Rule of Criminal Procedure 11, and entered
a plea of guilty to Count 104 of the Indictment (Doc. 5). After cautioning and examining
the Defendant under oath concerning each of the subjects mentioned in Rule 11, the court
determined that the guilty plea was knowledgeable and voluntary, and the offense charged
was supported by an independent basis in fact containing each of the essential elements of
the offense. The court therefore RECOMMENDS that the plea of guilty be accepted and
the Defendant be adjudged guilty.
       At the commencement of the Rule 11 proceeding, the Defendant was placed under
oath and advised that if she answered any questions falsely, she could be prosecuted for
perjury or for making a false statement.       She also was advised that in any such
prosecution, the Government could use against her any statements she made under oath.
       The court asked a number of questions to ensure the Defendant’s mental capacity
to enter a plea. The Defendant stated her full name, her age, and the extent of her
schooling. The court inquired into the Defendant’s history of mental illness and addiction



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to narcotic drugs. The court further inquired into whether the Defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.
From this inquiry, the court determined that the Defendant was not suffering from any
mental disability that would impair her ability to make knowing, intelligent, and voluntary
pleas of guilty to the charges.
       The Defendant acknowledged that she had received a copy of the Indictment, and
she had fully discussed these charges with her attorney.
       The court determined that the Defendant was pleading guilty under a plea agreement
with the Government. After confirming that a copy of the written plea agreement was in
front of the Defendant and her attorney, the court determined that the Defendant
understood the terms of the plea agreement. The court summarized the plea agreement,
and made certain the Defendant understood its terms.
       The court explained to the Defendant that because the plea agreement provided [for
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dismissal of charges if she pleaded guilty, a presentence report would be prepared and a
district judge would consider whether or not to accept the plea agreement. If the district
judge decided to reject the plea agreement, then the Defendant would have an opportunity
to withdraw her pleas of guilty and change them to not guilty.
       The Defendant was advised also that after her plea was accepted, she would have
no right to withdraw the plea at a later date, even if the sentence imposed was different
from what the Defendant or her counsel anticipated.
       The court summarized the charge against the Defendant, and listed the elements of
the crime. The court determined that the Defendant understood each and every element


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          Defendant has entered into a plea agreement. Defendant is charged in Counts 77
through 117 of the Indictment (Doc. 5). Defendant has agreed to plead guilty to Count 104, with
the remaining counts to be dismissed at sentencing.

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of the crime, and the Defendant’s counsel confirmed that the Defendant understood each
and every element of the crime charged.
       The court elicited a full and complete factual basis for all elements of the crimes
charged in each Count of the Indictment to which the Defendant was pleading guilty.
       The court advised the Defendant of the consequences of her plea, including the
maximum fine, the maximum term of imprisonment, the possibility that restitution could
be ordered, and term of supervised release. Because this charge involves fraud or other
intentionally deceptive practices, the Defendant was advised that the court also could order
her to provide notice of the conviction to victims of the offense.
       With respect to Count 104, the Defendant was advised that the maximum fine is
$250,000; the maximum term of imprisonment is 20 years; the maximum period of
supervised release is three years. Defendant was also advised that if the alternative fine
provisions (under 18 U.S.C. § 3571) apply, that the maximum fine is the greatest of the
following amounts: (1) twice the gross gain to Defendant resulting from the offense;
(2) twice the gross loss resulting from the offense; (3) $250,000; or (4) the amount
specified in the section defining the offense.
       The Defendant also was advised that the court is obligated to impose a special
assessment of $100.00, which the Defendant must pay. The Defendant also was advised
of the collateral consequences of a plea of guilty. The Defendant acknowledged that she
understood all of the above consequences.
       The court explained supervised release to the Defendant, and advised her that a term
of supervised release would be imposed in addition to the sentence of imprisonment. The
Defendant was advised that there are conditions of supervised release, and that if she were
found to have violated a condition of supervised release, then her term of supervised
release could be revoked and she could be required to serve in prison all or part of the

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term of supervised release without credit for time previously served on supervised release.
       The court also explained to the Defendant that the district judge would determine
the appropriate sentence for her at the sentencing hearing. The Defendant confirmed that
she understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The Defendant acknowledged that she understood the sentence imposed might
be different from what her attorney had estimated. The Defendant also was advised that
both she and the Government would have the right to appeal the sentence. The Defendant
was advised that parole has been abolished.
       The Defendant indicated she had conferred fully with her counsel and she was fully
satisfied with her counsel. The Defendant’s attorney indicated that there is a factual basis
for the guilty plea.
       The Defendant was advised fully of her right to plead not guilty, or having already
entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have her case tried by a jury selected from a cross-section of the
              community;
       4.     That she would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense beyond a reasonable doubt;
       5.     That the Government could call witnesses into court, but the Defendant’s
              attorney would have the right to confront and cross-examine these witnesses;
       6.     That the Defendant would have the right to see and hear all witnesses
              presented at trial;
       7.     That the Defendant would have the right to subpoena defense witnesses to

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                 testify at the trial, and if she could not afford to pay the fees and costs of
                 bringing these witnesses to court, then the Government would be required
                 to pay those fees and costs;
          8.     That the Defendant would have the privilege against self incrimination; i.e.,
                 she could choose to testify at trial, but she need not do so, and if she chose
                 not to testify, then the court would instruct the jury that the Defendant had
                 a constitutional right not to testify;
          9.     That any verdict by the jury would have to be unanimous;
          10.    That she would have the right to appeal, and if she could not afford an
                 attorney for the appeal, then the Government would pay the costs of an
                 attorney to prepare the appeal.
          The Defendant also was advised of the rights she would waive by entering a plea
of guilty. The Defendant was told there would be no trial, she would waive all the trial
rights just described, and she would be adjudged guilty without any further proceedings
except for sentencing.
          The Defendant confirmed that her decision to plead guilty was voluntary and was
not the result of any promises, other than plea agreement promises; and her decision to
plead guilty was not the result of any threats, force, or anyone pressuring her to plead
guilty.
          The Defendant confirmed that she still wished to plead guilty, and she pleaded guilty
to Count 104 of the Indictment.
          The court finds the following with respect to the Defendant’s guilty plea:
          1.     The guilty plea is voluntary, knowing, not the result of force, threats or
                 promises, except plea agreement promises, and the Defendant is fully
                 competent.
          2.     The Defendant is aware of the maximum punishment.
          3.     The Defendant knows her jury rights.
          4.     The Defendant has voluntarily waived her jury rights.

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       5.     There is a factual basis for the plea.
       6.     The Defendant is, in fact, guilty of the crime to which she is pleading guilty.
       The Defendant was advised that a written presentence investigation report would be
prepared to assist the court in sentencing. The Defendant was told that she and her counsel
would have an opportunity to read the presentence report before the sentencing hearing and
to object to the contents of the report, and she and her counsel would be afforded the
opportunity to present evidence and be heard at the sentencing hearing.
       The Defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar her from attacking
this court’s Report and Recommendation, which recommends that the assigned United
States District Judge accept the Defendant’s plea of guilty. Defendant was advised that she
may waive any right to file written objections to this Report and Recommendation by filing
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a written waiver form. The “Waiver of Objections to Report and Recommendation” form
is available on the Court’s web page.
       United States v. Cortez-Hernandez, 2016 WL 7174114 (8th Cir. 2016) (per curiam),
suggests that a Defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed. But see 28 U.S.C.
§ 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will undertake a de novo
review of the Report and Recommendation if a written request for such review is filed
within fourteen (14) days after this order is filed.
       The court finds by clear and convincing evidence that the Defendant is not likely


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            This form can be found at two locations on the Court’s web page:
www.iand.uscourts.gov, ((1)Clerk of Court, Forms, Criminal Forms, G.1 Plea Documents,
WaiverOfObjectionsForm.002.002.pdf; (2) Judges’ Information, Magistrate Mahoney, Standing
Forms).

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to flee or to pose a danger to the safety of any other person or the community. Therefore,
in accordance with 18 U.S.C. §§ 3143(a) and 3142(c), the Defendant is released pursuant
to the terms of her bond, and she shall surrender to the United States Marshals Service on
a date to be determined by the United States District Judge.
      DONE AND ENTERED at Cedar Rapids, Iowa, this 19th day of May, 2017.




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